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| vs l4 CR 22b- |

‘| :

1 Hon Virginia Kenda I

| Robert Mm. Kowalsky

 

SPEEDA TRIAL DEMAND

Defendant , Q+ttor nen, Robert M. Kowalsk, Aereby

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